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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

   In Re FLINT WATER CASES

   _____________________________/                Hon. Judith E. Levy

   This document relates to:                     Mag. Judge Elizabeth A. Stafford

   Carthan, et al. v. Snyder, et al
   Case No. 16-cv-10444


        LEO A. DALY COMPANY’S MOTION FOR SUMMARY JUDGMENT

          Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendant Leo

  A. Daly Company moves for summary judgment in the above-captioned matter.

  LAD is not liable for the reasons stated in the Motion for Summary Judgment and

  Brief of the LAN Defendants, which are expressly adopted by LAD herein. In the

  alternative, as explained in detail in its accompanying Brief, Leo A. Daly Company

  is entitled to summary judgment because it is not the alter ego Lockwood Andrews

  & Newnam Inc. (“LAN”) and is not legally responsible for any negligence or other

  tort committed by LAN or any person under its direction or control. Specifically,

  there is no evidence that the corporate form of LAN and LAD was used to commit

  a fraud or other wrong.

          As Local Rule 7.1(a) requires, Leo A. Daly Company conferred with

  Plaintiffs’ counsel concerning this motion. After Leo A. Daly Company explained



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  the nature and legal basis for the motion, Plaintiffs’ counsel said that they would

  oppose it.

                               Respectfully submitted,

   /s/ Wayne B. Mason                         /s/ Philip A. Erickson
   Wayne B. Mason (SBOT 13158950)             Philip A. Erickson (P37081)
   Travis S. Gamble (SBOT 00798195)           Rhonda Stowers (P64083)
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   ATTORNEYS FOR DEFENDANT
   LEO A. DALY COMPANY

  Dated: May 19, 2023


                           CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing instrument was served on all
  counsel of record on May 19, 2023 in accordance with the provisions of the Federal
  Rules of Civil Procedure.

                                        /s/ S. Vance Wittie
                                        S. Vance Wittie




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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

   In Re FLINT WATER CASES

   _____________________________/            Hon. Judith E. Levy

   This document relates to:                 Mag. Judge Elizabeth A. Stafford

   Carthan, et al. v. Snyder, et al
   Case No. 16-cv-10444



                    BRIEF IN SUPPORT OF LEO A. DALY COMPANY’S
                         MOTION FOR SUMMARY JUDGMENT




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                    STATEMENT OF ISSUES PRESENTED

  1.    Should the Court grant a summary judgment in favor of LAD for the reason
        stated in LAN’s Motion for Summary Judgment?

        LAD Answer: Yes
        Plaintiffs’ Answer: No

  2.    Should the Court grant a partial summary judgment in favor of LAD because
        Plaintiffs cannot establish that LAD is an alter ego of LAN?

        LAD Answer: Yes
        Plaintiffs’ Answer: No




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                  BRIEF IN SUPPORT OF LEO A. DALY COMPANY’S
                       MOTION FOR SUMMARY JUDGMENT

                                             INTRODUCTION

          Defendant Leo A. Daly Company (“LAD”) is entitled to summary judgment

  for the same reasons set forth in the Motion and Brief of Lockwood Andrews &

  Newnam, Inc. (“LAN”).

          In the alternative, it is entitled to partial summary judgment with respect to all

  claims based on the alter ego theory. There is no evidence that LAD has employed

  the corporate form to perpetuate a fraud or any other form of wrong. Consequently,

  under Michigan law, LAN is not the alter ego of LAD and the acts of LAN and the

  employees it directs may not be attributed to LAD. This Court granted summary

  judgment to LAD on this ground in connection with the Bellwether I trial and the

  same result is appropriate here.

                 FACTUAL BACKGROUND AND CLAIMS ASSERTED

          Plaintiffs asserted numerous claims against numerous defendants for damages

  that they allege they have sustained as a result of the Flint water crisis. Among these

  claims are professional negligence allegations against various engineering firms

  employed by the City of Flint before and during the crisis.1 These firms include

  LAN, which performed certain services with respect to the Flint Water Treatment



  1
   The Court has dismissed all claims against the engineering defendants except for Count IX, asserting professional
  negligence. In re Flint Water Cases, 384 F. Supp. 3d 802, 874 (E.D. Mich. 2019).


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  Plant. The nature of LAN’s work is set forth at length in the Brief of the LAN

  Defendants in support of their Motion for Summary Judgment. Plaintiffs have also

  sued LAD, the parent corporation of LAN, contending that it is the alter ego of

  LAN.2 Plaintiffs have also contended that LAD is the actual employer of the

  engineers that performed professional services for Flint and is thus vicariously liable.

  This Motion does not address that theory of vicarious liability.

           LAD is a Nebraska corporation with its principal place of business in Omaha,

  Nebraska. (Exhibit 1, Benes Affidavit, ¶ 3). It is an architectural firm, focusing on

  the planning and design of buildings. (Ex. 1 ¶ 8). It derives revenue from its own

  activities separate and apart from the activities of LAN. (Ex. 1, ¶8). It does not

  perform infrastructure engineering projects such as those performed in connection

  with the Flint water treatment plant. Specifically, LAD did not provide any services

  or perform any work with respect to the Flint water distribution systems or the Flint

  Water Treatment Plant. (Ex. 1, ¶ 12).

           LAN is a Texas corporation with its principal place of business in Houston,

  Texas. Its sole shareholder is LAD. (Ex. 1, ¶ 4). It generally performs infrastructure

  engineering projects, deriving revenue from its own activities. All of the contracts



  2
    Another defendant is Lockwood, Andrews & Newnam P.C. a Michigan professional corporation. This professional
  corporation was formed to satisfy Michigan licensing requirements with respect to work to be performed by LAN in
  Michigan. Its shares are held by Joseph H. Waterfield, an officer of LAN. Waterfield is the professional corporation’s
  sole officer. (Ex. 1, ¶ 11). The professional corporation did not engage in any operational activities and had no
  revenues or profits. (Ex. 2, p. 27).


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  to provide engineering services relating to the operation of the Flint Water Treatment

  Plant were between the City of Flint and LAN. (Ex. 1, ¶¶ 9-14).

        The two corporations have maintained formal separation and have taken all

  steps necessary to maintain distinct corporate identities. LAN and LAD are

  corporations in good standing in their respective states of incorporation and have

  complied with all corporate formalities. (Ex. 1 ¶ 13). LAD has two directors, Leo A.

  Daly III and his wife, Grega G. Daly. LAN has its own group of directors, one of

  which is Leo A. Daly III. (Ex. 1, ¶¶ 5-6, 13).

        LAN and LAD were regarded as distinct operating companies and accounted

  for their revenues and expenses separately. (Exhibit 2, Brader Deposition, pp. 30,

  42, Exhibits 2-3). While the two companies shared certain services such as those of

  their common general counsel and chief financial officer, the expenses for those

  shared serves were allocated between LAN and LAD based on the ratio for direct

  labor between the two companies for that particular year. (Ex. 2, p 47; Exhibit 7,

  Benes Deposition pp. 64-65). While the companies are insureds under the same

  policies, LAN pays its share of the overhead for this coverage. (Ex. 7, pp. 88, 111).

  LAN is solely responsible for workers’ compensation claims filed by LAN

  employees. (Ex. 7, p. 109).

        The companies maintained separate disbursement accounts to pay expenses.

  Bonuses and profit-sharing benefits are paid from each company’s own



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  disbursement account and allocated to the appropriate company’s balance sheet.

  (Ex. 2 pp. 116-17, 124, 128; Ex. 7 pp. 26, 62, 131, 135-36). The ability of a given

  qualified employee to receive a bonus depended upon the profitability of the

  company that employed the employee. If LAD or LAN had no profits in a particular

  year, its employees did not receive a bonus. If either LAD or LAN had profits, but

  the other company did not, only the employees of the company with profits would

  receive a bonus. (Ex. 2, p. 122).

        LAN and LAD entered into an Employee Leasing Agreement dated March,

  2004. Pursuant to this Agreement the workforce of LAN is seconded to LAN by

  LAD. LAD performs the necessary payroll and employee benefits services with

  respect to those employees as a matter of convenience and efficiency. (Ex. 1, ¶ 15).

  LAN employees were hired by other LAN employees, have LAN business cards and

  email address and work out of LAN offices. (Ex. 7, pp. 159, 166). John Warren

  Green served as the Project Director for the LAN services relating to the operation

  of the Flint Water Treatment plant and all engineers performing work for LAN

  reported to him. (Ex. 1, ¶ 16). LAD did not control the details of the work performed

  by LAN in providing engineering services to the City of Flint. (Ex. 1, ¶ 17). The

  engineering employees involved in the Flint projects regarded themselves as LAN

  employees and were not even aware of the Leasing Agreement. (Exhibit 3, Green




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  Deposition, pp. 473-74, 476; Exhibit 4, Hansen Deposition pp. 33-34; Exhibit 5,

  Matta Deposition, pp. 130, 135-36; Ex. 7 p. 91).

                          PRIOR SUMMARY JUDGMENT

        LAD moved for summary judgment in connection with the Bellwether I trial.

  (ECF No. 346). That Motion addressed the alter-ego grounds asserted in this Motion

  and the alleged vicarious liability of LAD for the professional negligence of the

  engineers who performed work of the Flint water project. By order of February 9,

  2022, the Court granted the alter-ego portion of the summary judgment motion. In

  re Flint Water Cases, No. 5:17-cv-10164-JEL-KGA, ECF 675, PageID 43865 et seq.

  (Feb. 9, 2022). The Court found that, although the evidence raised a fact issue with

  respect to whether LAN was an instrumentality of LAD, there was no evidence that

  the corporate form had been used to perpetuate fraud or wrongdoing. Id. at Page

  ID.43882-43908. The present Motion merely asks the Court to apply the same ruling

  on the same grounds to the claims of the class action Plaintiffs.

                      SUMMARY JUDGMENT STANDARDS

        Summary judgment is appropriate where the pleadings, disclosures and

  discovery material on file, as well as any affidavits show that “there is no genuine

  dispute as to any material fact and the movant is entitled to judgment as a matter of

  law.” Fed. R. Civ. P. 56(a). The movant may show the absence of a genuine issue

  of material facts by pointing out the “absence of evidence to the nonmoving party’s



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  case.” Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). Once the proponent

  establishes that there is no issue of material fact, the opposing party is burdened to

  advance “specific facts showing that there is a genuine issue for trial.” First Nat’l

  Bank v. Cities Serv. Co., 391 U.S. 253, 270 (1968). The non-movant must show that

  there is evidence on which a jury could reasonably find its favor on the contested

  issue. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). When the record,

  taken as a whole, could not lead a verified trier of fact to find for the non-movant,

  the Court should grant summary judgment. Matsushita Elec. Indus. Co. v. Zenith

  Radio Corp., 475 U.S. 574 587 (1986).

                              I.
    LAD IS ENTITLED TO SUMMARY JUDGMENT FOR THE REASONS
        STATED IN LAN’S MOTION FOR SUMMARY JUDGMENT

        LAN’s Motion for Summary Judgment demonstrates Plaintiffs have failed to

  develop admissible evidence as to each of the essential elements of professional

  negligence, including duty, breach and causation. Further, the negligence and

  criminal acts of the governmental actors constitute an intervening cause that negates

  any possibility that any acts of omissions of the engineers constituted a proximate

  cause of the injuries. These arguments are at least equally applicable to the claims

  against LAD. LAD adopts the Motion for Summary Judgment and supporting brief

  of LAN.




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                               II.
         LAN IS NOT THE ALTER EGO OF LAD AND LAD IS NOT
         RESPONSIBLE FOR TORTS COMMITTED BY LAN OR ITS
                           EMPLOYEES

        To be clear, LAD strongly denies that the professional engineers employed by

  LAN with respect to the City of Flint Water Treatment Plant and water supply

  system were negligent in any way. Any injuries sustained in the Flint water crisis

  were solely caused by the negligence and criminal fault of the governmental actors

  who made and implemented the key decisions that spurred the crisis. However, even

  if it is ultimately found that some professional negligence was committed and that

  this negligence played some causal role in the injuries sustained, that negligence

  cannot be attributed to LAD. The City of Flint contracted with LAN to perform the

  services, which were performed by LAN employees under LAN’s direction.

  Consequently, to impose liability on LAD, Plaintiffs must show that LAN and LAD

  are, in fact, not separate corporations. They have failed to do so.

  A.    STANDARDS GOVERNING CORPORATE SEPARATENESS

        Michigan generally “treats a corporation as an entirely different entity from

  its shareholders.” Soloman v. Western Hills Dev. Co., 110 Mich. App. 257, 312

  N.W. 2d 428, 431 (1981). The corporate veil “may be pierced only when an

  otherwise separate corporate existence has been used to subvert justice or cause a

  result that is contrary to some overriding public policy.” Servo Kinetics, Inc. v.

  Tokyo Precision Instruments Co., 475 F.3d 783, 798 (6th Cir. 2007) (quoting


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  Seasword v. Hilti, 449 Mich. 542, 537 N.W.2d 221, 224 (1995)). This “injustice”

  necessary to disregard the corporate form “must in some manner relate to the misuse

  of the corporate form short of fraud or illegality.” Soloman, 312 N.W. 2d. at 432;

  see also Scarff Bros. Inc. v. Bischer Farms, Inc., 386 Fed. Appx. 518, 524 (6th Cir.

  2010).

        These basic alter ego principles apply in the context of parent and subsidiary

  corporations. “Michigan law presumes that, absent some abuse of corporate form,

  parent and subsidiary corporations are separate and distinct entities.” Seasword, 449

  Mich. at 547. Corporate separateness is disregarded only when it appears that “to

  recognize corporate separateness would aid in the commission of a wrong.” Gledhill

  v. Fisher & Co., 272 Mich. 353, 262 N.W. 371 (1935). A claimant seeking to

  disregard corporate separateness must establish: (1) control by the parent to such a

  degree that the subsidiary has become its mere instrumentality; (2) fraud or wrong

  by the parent through its subsidiary; and (3) unjust loss or injury to the claimant.

  Maki v. Copper Range Co., 121 Mich. App. 518, 328 N.W. 3d 430 (1982); see also

  In re RCS Engineered Prods. Co., Inc., 102 F. 3d 223, 226 (6th Cir. 1996).

        LAD disputes that LAN is a mere instrumentality and contends that, as a

  matter of law, the evidence does not support any findings that would permit




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  corporate separateness to be disregarded.3 LAD does not seek to overturn the Court’s

  prior ruling that a fact issue exists with regard to whether LAN is an instrumentality

  of LAD. Nevertheless, some review of the basic facts on corporate separateness may

  be useful in assessing the question of misuse of the corporate form.                    LAN is no

  sham. It is an operating company with its own business distinct from LAD. It has

  and continues to generate its own revenues. (Brader Deposition, Exhibit 2, Exs. 3-

  3A). LAN holds assets in its own name. (Brader Deposition, Exhibit 2, Ex. 5).

  There is no evidence that LAN is undercapitalized. Indeed, over the last several

  years, it has consistently been more profitable than LAD. (Ex. 2, pp. 80-82, 90, Ex.

  4). See Lyngaas 933 F. 3d at 420-21 (evaluating corporate profitability as an

  indicator of undercapitalization).

         There is no suggestion that the two corporations have failed to satisfy

  corporate formalities or to keep separate records. The finances of the two companies

  are accounted for separately and disbursements are made from separate accounts.

  (Ex. 2, pp. 42, 70). Any shared expenses are allocated between the companies based

  upon a formula. Each corporation pays bonuses to certain employees according to

  the profitability of that particular company. (Ex. 2, pp. 116-17, 122, 124). While


  3
   Whether a corporate entity is a mere instrumentality of another is determined by analyzing “(1)
  whether the corporation is undercapitalized, (2) whether separate books are kept, (3) whether there
  are separate finances for he corporation, (4) whether the corporation is used for fraud or illegality,
  (5) whether corporate formalities have been followed, and (6) whether the corporation is a sham.”
  Lyngaas v. Curaden AG, 992 F. 3d 412, 420-21 (6th Cir. 2021)(quoting Glenn v. TPI Petrol., Inc.,
  305 Mich. App. 698, 854 N.W. 2d 509, 520 (2014)).


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  some questions have been raised regarding the Employee Leasing Agreement, those

  questions do not go to corporate separateness.

  B.     THERE IS NO EVIDENCE OF MISUSE OF THE CORPORATE
         FORM

         As stated above, Michigan will disregard corporate separateness only where

  there has been an abuse of the corporate form to commit some kind of wrong.

  Seasword, 537 N.W. 2d at 224. The claimant must show, at minimum, that “the

  owner exercised his or her control over the entity in such a manner as to wrong the

  complainant.” Green v. Ziegelman, 310 Mich. App. 436, 458, 873 N.W. 2d 794, 807

  (2015). See also Lim v. Miller Parking Co., 560 B.R. 688, 705 (E.D. Mich.

  2016)(“In order to prove the ‘fraud or wrong’ element, the plaintiff must establish

  that a controlling entity engaged in deliberate wrongful conduct that either was

  designed to or actually did produce injury to obligees of the instrumental entity. And

  the proof of ‘fraud or wrong’ must comprise something other than a mere showing

  of an unjust loss to the plaintiff.”); Lyngaas v. Curaden AG. 2019 WL 223217 at *10

  (E.D. Mich. May 23, 2019)(summary judgment for parent warranted where there

  was no evidence that it engaged in deliberate wrongful conduct that injured

  plaintiff).

         Plaintiffs have developed no evidence that would suggest that LAD has

  misused LAN in any way to commit a fraud or any other wrong. Rather, the City of

  Flint contracted with LAN to perform the kind of infrastructure engineering services


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  that LAN customarily provides. There is no indication that any revenue from the

  work performed for the City was not accounted for separately in the same manner

  as all other LAN revenue. Nor is there any suggestion that LAD interfered with

  LAN’s work at Flint or influenced it in any way. LAN and LAD had distinct

  management structures and the engineers reported within the LAN chain of

  command. (Exhibit 6, Nakashima Deposition, p. 33). Consequently, there is no

  connection between whatever control that LAD could theoretically assert over LAN

  and the injuries that Plaintiffs sustained. “The lack of ‘some form of culpable

  conduct’…dooms [plaintiffs’] theory.” Lyngaas, 992 F. 3d at 421. Under the record,

  there is simply no material fact regarding fraud or wrong involving the corporate

  form to bring to trial. LAD is entitled to summary judgment.




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                               Respectfully submitted,


   /s/Wayne B. Mason                /s/ Philip A. Erickson
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  Dated: May 19, 2023


                          CERTIFICATE OF SERVICE
        The undersigned certifies that the foregoing instrument was served on all
  counsel of record on May 19, 2023 in accordance with the provisions of the Federal
  Rules of Civil Procedure.


                                       /s/ S. Vance Wittie
                                       S. Vance Wittie




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